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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

    CLIFTON SHAD JONES,

           Plaintiff,                                 Case No.  3:18-cv-00231-D
    v.
                                                     Honorable Judge Sidney A. Fitzwater
    SANTANDER CONSUMER USA INC.,

          Defendant.


                  AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, CLIFTON SHAD

JONES, and the Defendant, SANTANDER CONSUMER USA INC., through their respective

counsel that the above-captioned action is dismissed, with prejudice, against SANTANDER

CONSUMER USA INC , pursuant to settlement and Federal Rule of Civil Procedure 41. Each party

shall bear its own costs and attorney fees.

Dated: May 30, 2018                               Respectfully Submitted,

CLIFTON SHAD JONES                               SANTANDER CONSUMER USA, INC.,
/s/ Nathan C. Volheim                            /s/ Virginia Bell Flynn (with consent)
Nathan C. Volheim                                Virginia Bell Flynn
Counsel for Plaintiff                            Counsel for Defendant
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                               CERTIFICATE OF SERVICE

       I hereby certify I caused a copy of the foregoing document to be electronically filed with

the Clerk of Court using the CM/ECF system, which will be sent to all attorneys of record.



                                                           s/ Nathan C. Volheim_____
                                                           Nathan C. Volheim
 
